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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                 CLARKSBURG
UNITED STATES OF AMERICA,
                      Plaintiff,
v.                                                  Criminal Case No.: 1:21-MJ-27
                                                    (JUDGE ALOI)

GEORGE TANIOS,
                      Defendant.


                  ORDER REGARDING ACCESS TO PROCEEDINGS
                 BY ZOOM VIDEOCONFERENCE/TELECONFERENCE

       This matter is scheduled for a Preliminary Hearing and Detention Hearing on Monday,

March 22, 2021 at 10:00 a.m. at the Clarksburg, West Virginia point of holding court. Currently,

federal, state, county, and local public health authorities continue to advise public and private

agencies to take necessary and appropriate precautions to reduce the possibility of exposure to

COVID-19 and slow the spread of the disease. This matter is of significant public interest.

       For reasons appearing to the Court, and to provide a platform by which members of the

public may safely view or listen to the proceedings on March 22, 2021, these proceedings will be

accessible by Zoom videoconferencing/teleconferencing. The public may access the proceedings

as follows:


Option A (link to videoconference):

https://www.zoomgov.com/j/1615835808?pwd=dERmVGdEU3RwYnhxZ0JLK2pWU3Z3dz09
Meeting ID: 161 583 5808
Passcode: 393117
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Option B (link to teleconference, dial in from your location):

Dial by your location
     +1 669 254 5252 US (San Jose)
     +1 646 828 7666 US (New York)

Meeting ID: 161 583 5808
Passcode: 393117

       The authorization of remote access to the Preliminary Hearing and Detention Hearing via

Zoom videoconference or teleconference is limited and does not authorize more traditional forms

of “broadcasting” court proceedings, such as livestreaming court hearings on the internet. Persons

granted access to the proceedings are reminded of the general prohibition against photographing,

recording, and rebroadcasting of court proceedings. A violation of these prohibitions may result in

sanctions, including removal of court issued media credentials, restricted entry to future hearings,

denial of entry to future hearings, and any other sanctions deemed necessary by the Court.

       It is so ORDERED.

       The Clerk of Court is DIRECTED to transmit copies of this Order to counsel of record as

provided in the Administrative Procedures for Electronic Case Filing in the United States District

Court for the Northern District of West Virginia.

       Dated: March 16, 2021.
